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                         10                         UNITED STATES DISTRICT COURT
                         11                        CENTRAL DISTRICT OF CALIFORNIA
                         12
                               DOMINIQUE LASHON DANIELS,                  Case No. 8:18-cv-00265-CJC (SKx)
                         13                                               Judge: Hon. Cormac J. Carney
                                                         Plaintiff,
                         14
                                                                          STIPULATED PROTECTIVE
GOLDBERG SEGALLA LLP




                                     v.
 Los Angeles, CA 90017




                         15                                               ORDER
     P.O. Box 17220

      213-415-7200




                         16
                               SECURITAS SECURITY SERVICES
                         17    USA, INC.,
                         18                              Defendant.
                         19

                         20

                         21   1.    A. PURPOSES AND LIMITATIONS
                         22         Discovery in this action is likely to involve production of confidential,
                         23   proprietary, or private information for which special protection from public
                         24   disclosure and from use for any purpose other than prosecuting this litigation may
                         25   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
                         26   enter the following Stipulated Protective Order. The parties acknowledge that this
                         27   Order does not confer blanket protections on all disclosures or responses to
                         28   discovery and that the protection it affords from public disclosure and use extends

                                                           STIPULATED PROTECTIVE ORDER
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                          1   only to the limited information or items that are entitled to confidential treatment
                          2   under the applicable legal principles. The parties further acknowledge, as set forth
                          3   in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
                          4   file confidential information under seal; Civil Local Rule 79-5 sets forth the
                          5   procedures that must be followed and the standards that will be applied when a
                          6   party seeks permission from the court to file material under seal.
                          7         B. GOOD CAUSE STATEMENT
                          8         This action is likely to involve confidential and trade secret information (e.g.,
                          9   information regarding Defendant’s customers) and private information of third
                         10   party business entities (e.g., scope security provided at certain locations), private
                         11   information of third party individuals (e.g., information regarding Defendant’s
                         12   employees and applicants for employment) as well as , development, commercial,
                         13   financial, technical and/or proprietary information for which special protection
                         14   from public disclosure and from use for any purpose other than prosecution of this
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                              action is warranted. That Defendant provides security services to its customers only
 Los Angeles, CA 90017




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                              furthers the need for protections from disclosure or risk security breaches. Such
      213-415-7200




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                         17   confidential and proprietary materials and information consist of, among other
                         18   things, confidential business or financial information, information regarding
                         19   confidential business practices, or other confidential research, development, or
                         20   commercial information (including information implicating privacy rights of third
                         21   parties), information otherwise generally unavailable to the public, or which may be
                         22   privileged or otherwise protected from disclosure under state or federal statutes,
                         23   court rules, case decisions, or common law.
                         24         This action is also likely to involve Plaintiff’s confidential employment
                         25   information and records with Defendant Securitas Security Services USA, Inc.,
                         26   (e.g., information regarding her personnel, job application, payroll, and
                         27   Employment Data Reports and records), as well as Plaintiff’s payroll records (e.g.,
                         28   wages or pay stubs) with her former employer Guard Management Inc.
                                                                           2
                                                            STIPULATED PROTECTIVE ORDER
                   Case 8:18-cv-00265-CJC-SK Document 112 Filed 11/12/21 Page 3 of 14 Page ID #:1704



                          1          Accordingly, to expedite the flow of information, to facilitate the prompt
                          2   resolution of disputes over confidentiality of discovery materials, to adequately
                          3   protect information the parties are entitled to keep confidential, to ensure that the
                          4   parties are permitted reasonable necessary uses of such material in preparation for
                          5   and in the conduct of trial, to address their handling at the end of the litigation, and
                          6   serve the ends of justice, a protective order for such information is justified in this
                          7   matter. It is the intent of the parties that information will not be designated as
                          8   confidential for tactical reasons and that nothing be so designated without a good
                          9   faith belief that it has been maintained in a confidential, non-public manner, and
                         10   there is good cause why it should not be part of the public record of this case.
                         11   2.     DEFINITIONS
                         12          2.1    Action: Dominique Lashon Daniels v. Securitas Security Services
                         13   USA, Inc.
                         14          2.2    Challenging Party: A Party or Non-Party that challenges the
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                              designation of information or items under this Order.
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                                     2.3 “CONFIDENTIAL” Information or Items: information (regardless of
      213-415-7200




                         16
                         17   how it is generated, stored or maintained) or tangible things that qualify for
                         18   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
                         19   the Good Cause Statement.
                         20          2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
                         21   their support staff).
                         22          2.5    Designating Party: a Party or Non-Party that designates information or
                         23   items that it produces in disclosures or in responses to discovery as
                         24   “CONFIDENTIAL.”
                         25          2.6    Disclosure or Discovery Material: all items or information, regardless
                         26   of the medium or manner in which it is generated, stored, or maintained (including,
                         27   among other things, testimony, transcripts, and tangible things), that are produced
                         28   or generated in disclosures or responses to discovery in this matter.
                                                                           3
                                                             STIPULATED PROTECTIVE ORDER
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                          1         2.7    Expert: a person with specialized knowledge or experience in a matter
                          2   pertinent to the litigation who has been retained by a Party or its counsel to serve as
                          3   an expert witness or as a consultant in this Action.
                          4         2.8    House Counsel: attorneys who are employees of a party to this Action.
                          5   House Counsel does not include Outside Counsel of Record or any other outside
                          6   counsel.
                          7         2.9    Non-Party: any natural person, partnership, corporation, association, or
                          8   other legal entity not named as a Party to this action.
                          9         2.10 Outside Counsel of Record: attorneys who are not employees of a
                         10   party to this Action but are retained to represent or advise a party to this Action and
                         11   have appeared in this Action on behalf of that party or are affiliated with a law firm
                         12   which has appeared on behalf of that party, and includes support staff.
                         13         2.11 Party: any party to this Action, including all of its officers, directors,
                         14   employees, consultants, retained experts, and Outside Counsel of Record (and their
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                              support staffs).
 Los Angeles, CA 90017




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                                    2.12 Producing Party: a Party or Non-Party that produces Disclosure or
      213-415-7200




                         16
                         17   Discovery Material in this Action.
                         18         2.13 Professional Vendors: persons or entities that provide litigation support
                         19   services (e.g., photocopying, videotaping, translating, preparing exhibits or
                         20   demonstrations, and organizing, storing, or retrieving data in any form or medium)
                         21   and their employees and subcontractors.
                         22         2.14 Protected Material: any Disclosure or Discovery Material that is
                         23   designated as “CONFIDENTIAL.”
                         24         2.15 Receiving Party: a Party that receives Disclosure or Discovery
                         25   Material from a Producing Party.
                         26   3.    SCOPE
                         27         The protections conferred by this Stipulation and Order cover not only
                         28   Protected Material (as defined above), but also (1) any information copied or
                                                                           4
                                                            STIPULATED PROTECTIVE ORDER
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                          1   extracted from Protected Material; (2) all copies, excerpts, summaries, or
                          2   compilations of Protected Material; and (3) any testimony, conversations, or
                          3   presentations by Parties or their Counsel that might reveal Protected Material.
                          4         Any use of Protected Material at trial shall be governed by the orders of the
                          5   trial judge. This Order does not govern the use of Protected Material at trial.
                          6   4.    DURATION
                          7         Final disposition shall be deemed to be the later of (1) dismissal of all claims
                          8   and defenses in this Action, with or without prejudice; and (2) final judgment
                          9   herein after the completion and exhaustion of all appeals, rehearings, remands,
                         10   trials, or reviews of this Action, including the time limits for filing any motions or
                         11   applications for extension of time pursuant to applicable law.
                         12   5.    DESIGNATING PROTECTED MATERIAL
                         13         5.1    Exercise of Restraint and Care in Designating Material for Protection.
                         14         Each Party or Non-Party that designates information or items for protection
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                              under this Order must take care to limit any such designation to specific material
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                              that qualifies under the appropriate standards. The Designating Party must
      213-415-7200




                         16
                         17   designate for protection only those parts of material, documents, items, or oral or
                         18   written communications that qualify so that other portions of the material,
                         19   documents, items, or communications for which protection is not warranted are not
                         20   swept unjustifiably within the ambit of this Order.
                         21         Mass, indiscriminate, or routinized designations are prohibited. Designations
                         22   that are shown to be clearly unjustified or that have been made for an improper
                         23   purpose (e.g., to unnecessarily encumber the case development process or to
                         24   impose unnecessary expenses and burdens on other parties) may expose the
                         25   Designating Party to sanctions.
                         26         If it comes to a Designating Party’s attention that information or items that it
                         27   designated for protection do not qualify for protection, that Designating Party must
                         28   promptly notify all other Parties that it is withdrawing the inapplicable designation.
                                                                           5
                                                            STIPULATED PROTECTIVE ORDER
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                          1         5.2    Manner and Timing of Designations. Except as otherwise provided in
                          2   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
                          3   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
                          4   under this Order must be clearly so designated before the material is disclosed or
                          5   produced.
                          6         Designation in conformity with this Order requires:
                          7               (a) for information in documentary form (e.g., paper or electronic
                          8   documents, but excluding transcripts of depositions or other pretrial or trial
                          9   proceedings), that the Producing Party affix at a minimum, the legend
                         10   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
                         11   contains protected material. If only a portion or portions of the material on a page
                         12   qualifies for protection, the Producing Party also must clearly identify the protected
                         13   portion(s) (e.g., by making appropriate markings in the margins).
                         14         A Party or Non-Party that makes original documents available for inspection
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                              need not designate them for protection until after the inspecting Party has indicated
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                              which documents it would like copied and produced. During the inspection and
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                         16
                         17   before the designation, all of the material made available for inspection shall be
                         18   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
                         19   documents it wants copied and produced, the Producing Party must determine
                         20   which documents, or portions thereof, qualify for protection under this Order. Then,
                         21   before producing the specified documents, the Producing Party must affix the
                         22   “CONFIDENTIAL legend” to each page that contains Protected Material. If only a
                         23   portion or portions of the material on a page qualifies for protection, the Producing
                         24   Party also must clearly identify the protected portion(s) (e.g., by making
                         25   appropriate markings in the margins).
                         26               (b) for testimony given in depositions that the Designating Party
                         27   identify the Disclosure or Discovery Material on the record, before the close of the
                         28   deposition all protected testimony.
                                                                          6
                                                            STIPULATED PROTECTIVE ORDER
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                          1                (c) for information produced in some form other than documentary
                          2   and for any other tangible items, that the Producing Party affix in a prominent place
                          3   on the exterior of the container or containers in which the information is stored the
                          4   legend “CONFIDENTIAL.” If only a portion or portions of the information
                          5   warrants protection, the Producing Party, to the extent practicable, shall identify the
                          6   protected portion(s).
                          7         5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
                          8   failure to designate qualified information or items does not, standing alone, waive
                          9   the Designating Party’s right to secure protection under this Order for such
                         10   material. Upon timely correction of a designation, the Receiving Party must make
                         11   reasonable efforts to assure that the material is treated in accordance with the
                         12   provisions of this Order.
                         13   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
                         14         6.1    Timing of Challenges. Any Party or Non-Party may challenge a
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                              designation of confidentiality at any time that is consistent with the Court’s
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                              Scheduling Order.
      213-415-7200




                         16
                         17         6.2     Meet and Confer. The Challenging Party shall initiate the dispute
                         18   resolution process under Local Rule 37.1 et seq.
                         19         6.3    The burden of persuasion in any such challenge proceeding shall be on
                         20   the Designating Party. Frivolous challenges, and those made for an improper
                         21   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
                         22   parties) may expose the Challenging Party to sanctions. Unless the Designating
                         23   Party has waived or withdrawn the confidentiality designation, all parties shall
                         24   continue to afford the material in question the level of protection to which it is
                         25   entitled under the Producing Party’s designation until the Court rules on the
                         26   challenge.
                         27   ///
                         28   ///
                                                                           7
                                                            STIPULATED PROTECTIVE ORDER
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                          1   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
                          2         7.1    Basic Principles. A Receiving Party may use Protected Material that is
                          3   disclosed or produced by another Party or by a Non-Party in connection with this
                          4   Action only for prosecuting, defending, or attempting to settle this Action. Such
                          5   Protected Material may be disclosed only to the categories of persons and under the
                          6   conditions described in this Order. When the Action has been terminated, a
                          7   Receiving Party must comply with the provisions of section 13 below (FINAL
                          8   DISPOSITION).
                          9         Protected Material must be stored and maintained by a Receiving Party at a
                         10   location and in a secure manner that ensures that access is limited to the persons
                         11   authorized under this Order.
                         12         7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless
                         13   otherwise ordered by the court or permitted in writing by the Designating Party, a
                         14   Receiving Party may disclose any information or item designated
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                              “CONFIDENTIAL” only to:
 Los Angeles, CA 90017




                         15
     P.O. Box 17220




                                            (a) the Receiving Party’s Outside Counsel of Record in this Action, as
      213-415-7200




                         16
                         17   well as employees of said Outside Counsel of Record to whom it is reasonably
                         18   necessary to disclose the information for this Action;
                         19                 (b) the officers, directors, and employees (including House Counsel)
                         20   of the Receiving Party to whom disclosure is reasonably necessary for this Action;
                         21                 (c) Experts (as defined in this Order) of the Receiving Party to whom
                         22   disclosure is reasonably necessary for this Action and who have signed the
                         23   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                         24                (d) the court and its personnel;
                         25                (e) court reporters and their staff;
                         26                (f) professional jury or trial consultants, mock jurors, and Professional
                         27   Vendors to whom disclosure is reasonably necessary for this Action and who have
                         28   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                                                           8
                                                             STIPULATED PROTECTIVE ORDER
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                          1                (g) the author or recipient of a document containing the information or
                          2   a custodian or other person who otherwise possessed or knew the information;
                          3                (h) during their depositions, witnesses, and attorneys for witnesses, in
                          4   the Action to whom disclosure is reasonably necessary provided: (1) the deposing
                          5   party requests that the witness sign the form attached as Exhibit 1 hereto; and (2)
                          6   they will not be permitted to keep any confidential information unless they sign the
                          7   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
                          8   agreed by the Designating Party or ordered by the court. Pages of transcribed
                          9   deposition testimony or exhibits to depositions that reveal Protected Material may
                         10   be separately bound by the court reporter and may not be disclosed to anyone
                         11   except as permitted under this Stipulated Protective Order; and
                         12                (i) any mediator or settlement officer, and their supporting personnel,
                         13   mutually agreed upon by any of the parties engaged in settlement discussions.
                         14   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
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                              IN OTHER LITIGATION
 Los Angeles, CA 90017




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                                    If a Party is served with a subpoena or a court order issued in other litigation
      213-415-7200




                         16
                         17   that compels disclosure of any information or items designated in this Action as
                         18   “CONFIDENTIAL,” that Party must:
                         19         (a)    promptly notify in writing the Designating Party. Such notification
                         20   shall include a copy of the subpoena or court order;
                         21         (b)    promptly notify in writing the party who caused the subpoena or order
                         22   to issue in the other litigation that some or all of the material covered by the
                         23   subpoena or order is subject to this Protective Order. Such notification shall include
                         24   a copy of this Stipulated Protective Order; and
                         25         (c)    cooperate with respect to all reasonable procedures sought to be
                         26   pursued by the Designating Party whose Protected Material may be affected.
                         27         If the Designating Party timely seeks a protective order, the Party served with
                         28   the subpoena or court order shall not produce any information designated in this
                                                                           9
                                                            STIPULATED PROTECTIVE ORDER
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                          1   action as “CONFIDENTIAL” before a determination by the court from which the
                          2   subpoena or order issued, unless the Party has obtained the Designating Party’s
                          3   permission. The Designating Party shall bear the burden and expense of seeking
                          4   protection in that court of its confidential material and nothing in these provisions
                          5   should be construed as authorizing or encouraging a Receiving Party in this Action
                          6   to disobey a lawful directive from another court.
                          7   9.    A.     NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
                          8   PRODUCED IN THIS LITIGATION
                          9         (a)    The terms of this Order are applicable to information produced by a
                         10   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
                         11   produced by Non-Parties in connection with this litigation is protected by the
                         12   remedies and relief provided by this Order. Nothing in these provisions should be
                         13   construed as prohibiting a Non-Party from seeking additional protections.
                         14         (b)    In the event that a Party is required, by a valid discovery request, to
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                              produce a Non-Party’s confidential information in its possession, and the Party is
 Los Angeles, CA 90017




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     P.O. Box 17220




                              subject to an agreement with the Non-Party not to produce the Non-Party’s
      213-415-7200




                         16
                         17   confidential information, then the Party shall:
                         18                (1)    promptly notify in writing the Requesting Party and the Non-
                         19   Party that some or all of the information requested is subject to a confidentiality
                         20   agreement with a Non-Party;
                         21                (2)    promptly provide the Non-Party with a copy of the Stipulated
                         22   Protective Order in this Action, the relevant discovery request(s), and a reasonably
                         23   specific description of the information requested; and
                         24                (3)    make the information requested available for inspection by the
                         25   Non-Party, if requested.
                         26         (c)    If the Non-Party fails to seek a protective order from this court within
                         27   14 days of receiving the notice and accompanying information, the Receiving Party
                         28   may produce the Non-Party’s confidential information responsive to the discovery
                                                                          10
                                                            STIPULATED PROTECTIVE ORDER
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                          1   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
                          2   not produce any information in its possession or control that is subject to the
                          3   confidentiality agreement with the Non-Party before a determination by the court.
                          4   Absent a court order to the contrary, the Non-Party shall bear the burden and
                          5   expense of seeking protection in this court of its Protected Material.
                          6   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                          7         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
                          8   Protected Material to any person or in any circumstance not authorized under this
                          9   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
                         10   writing the Designating Party of the unauthorized disclosures, (b) use its best
                         11   efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the
                         12   person or persons to whom unauthorized disclosures were made of all the terms of
                         13   this Order, and (d) request such person or persons to execute the “Acknowledgment
                         14   and Agreement to Be Bound” that is attached hereto as Exhibit A.
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                              11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 Los Angeles, CA 90017




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                              PROTECTED MATERIAL
      213-415-7200




                         16
                         17         When a Producing Party gives notice to Receiving Parties that certain
                         18   inadvertently produced material is subject to a claim of privilege or other
                         19   protection, the obligations of the Receiving Parties are those set forth in Federal
                         20   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
                         21   whatever procedure may be established in an e-discovery order that provides for
                         22   production without prior privilege review. Pursuant to Federal Rule of Evidence
                         23   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
                         24   of a communication or information covered by the attorney-client privilege or work
                         25   product protection, the parties may incorporate their agreement in the stipulated
                         26   protective order submitted to the court.
                         27   12.   MISCELLANEOUS
                         28         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
                                                                          11
                                                            STIPULATED PROTECTIVE ORDER
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                          1   person to seek its modification by the Court in the future.
                          2         12.2 Right to Assert Other Objections. By stipulating to the entry of this
                          3   Protective Order no Party waives any right it otherwise would have to object to
                          4   disclosing or producing any information or item on any ground not addressed in
                          5   this Stipulated Protective Order. Similarly, no Party waives any right to object on
                          6   any ground to use in evidence of any of the material covered by this Protective
                          7   Order.
                          8         12.3 Filing Protected Material. A Party that seeks to file under seal any
                          9   Protected Material must comply with Civil Local Rule 79-5. Protected Material
                         10   may only be filed under seal pursuant to a court order authorizing the sealing of the
                         11   specific Protected Material at issue. If a Party's request to file Protected Material
                         12   under seal is denied by the court, then the Receiving Party may file the information
                         13   in the public record unless otherwise instructed by the court.
                         14   13.   FINAL DISPOSITION
GOLDBERG SEGALLA LLP




                                    After the final disposition of this Action, as defined in paragraph 4, within 60
 Los Angeles, CA 90017




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     P.O. Box 17220




                              days of a written request by the Designating Party, each Receiving Party must
      213-415-7200




                         16
                         17   return all Protected Material to the Producing Party or destroy such material. As
                         18   used in this subdivision, “all Protected Material” includes all copies, abstracts,
                         19   compilations, summaries, and any other format reproducing or capturing any of the
                         20   Protected Material. Whether the Protected Material is returned or destroyed, the
                         21   Receiving Party must submit a written certification to the Producing Party (and, if
                         22   not the same person or entity, to the Designating Party) by the 60 day deadline that
                         23   (1) identifies (by category, where appropriate) all the Protected Material that was
                         24   returned or destroyed and (2) affirms that the Receiving Party has not retained any
                         25   copies, abstracts, compilations, summaries or any other format reproducing or
                         26   capturing any of the Protected Material. Notwithstanding this provision, Counsel
                         27   are entitled to retain an archival copy of all pleadings, motion papers, trial,
                         28   deposition, and hearing transcripts, legal memoranda, correspondence, deposition
                                                                           12
                                                            STIPULATED PROTECTIVE ORDER
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                 Case 8:18-cv-00265-CJC-SK Document 112 Filed 11/12/21 Page 14 of 14 Page ID #:1715



                          1                                        EXHIBIT A
                          2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                          3   I, ________________________________ [print or type full name], of
                          4   _____________________ [print or type full address], declare under penalty of
                          5   perjury that I have read in its entirety and understand the Stipulated Protective
                          6   Order that was issued by the United States District Court for the Central District of
                          7   California on [date] in the case of Dominique Lashon Daniels v. Securitas
                          8   Security Services USA, Inc., 8:18-cv-00265-CJC (SKx). I agree to comply with
                          9   and to be bound by all the terms of this Stipulated Protective Order and I
                         10   understand and acknowledge that failure to so comply could expose me to sanctions
                         11   and punishment in the nature of contempt. I solemnly promise that I will not
                         12   disclose in any manner any information or item that is subject to this Stipulated
                         13   Protective Order to any person or entity except in strict compliance with the
                         14   provisions of this Order.
GOLDBERG SEGALLA LLP




                              I further agree to submit to the jurisdiction of the United States District Court for
 Los Angeles, CA 90017




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     P.O. Box 17220




                              the Central District of California for the purpose of enforcing the terms of this
      213-415-7200




                         16
                         17   Stipulated Protective Order, even if such enforcement proceedings occur after
                         18   termination of this action. I hereby appoint __________________ [print or type full
                         19   name] of __________________________________ [print or type full address and
                         20   telephone number] as my California agent for service of process in connection with
                         21   this action or any proceedings related to enforcement of this Stipulated Protective
                         22   Order.
                         23
                              Date: _________________________________________
                         24
                              City and State where sworn and signed: _________________________________
                         25
                              Printed name: _________________________________
                         26
                              Signature: _______________________________________________
                         27

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                                                            STIPULATED PROTECTIVE ORDER
